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Stanley J. Preston (4119)
Bryan M. Scott (9381)
Brandon T. Crowther (14164)
PRESTON & SCOTT
111 S. Main, Suite 1600
Salt Lake City, UT 84111
Telephone: (801) 869-1620
Facsimile: (801) 869-1621
sjp@prestonandscott.com
bms@prestonandscott.com
btc@prestonandscott.com

Attorneys for Defendants West Valley City,
Wayne Pyle, Buzz Nielsen, Lee Russo,
David Greco, Philip Quinlan, Michael Powell,
John Coyle and Anita Schwemmer


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


SHAUN COWLEY,

                Plaintiff,                               REPLY TO PLAINTIFFS’
                                                         OPPOSITION TO BILL OF COSTS
        vs.

WEST VALLEY CITY, WVC MANAGER
WAYNE PYLE, FORMER POLICE CHIEF                       Case No: 2:16-cv-00143
BUZZ NIELSEN, CURRENT POLICE CHIEF
LEE RUSSO, WVC DETECTIVE DAVID                           Judge Bruce S. Jenkins
GRECO, DEPUTY CHIEF PHILIP QUINLAN,
DEPUTY CHIEF MICHAEL POWELL,
LIEUTENANT JOHN COYLE, FORMER
CHIEF ANITA SCHWEMMER,

                Defendants.


       Pursuant to DUCivR 54-2(b), Defendants respectfully submit the following reply to

Plaintiff’s Opposition to Bill of Costs, Dkt. No. 129.

       Plaintiff’s opposition is based on the incorrect assumption that Defendant West Valley

City (the “City”) cannot obtain costs in this case, and that the City is trying to wrongfully use


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other defendants to recover these costs.

        First, there is no need to distinguish which of the Defendants paid which costs. All of the

Defendants jointly submitted the bill of costs, and they will be responsible for dividing costs

among themselves. Plaintiff has cited no authority that would not allow Defendants to jointly

recover costs. In fact, the principal case cited by Plaintiff makes it clear that such conduct is

proper. In Cardozo v. Home Depot U.S.A., Inc., 2010 WL 2774137 (D. Kan. July 13, 2010), the

court rejected a bill of costs claim, however, that was because the costs were incurred by another

party, that was not a movant on the bill of costs. Id. at *5. Defendants are all movants on this

bill of costs and are entitled to the award of costs as requested.

        Second, the City is entitled to its costs under Rule 54(d)(1) of the Federal Rules of Civil

Procedure. Plaintiff argues that the City waived its right to costs when that is clearly not the

case. At the time that the parties stipulated to dismissal of Plaintiffs’ first cause of action, the

Court had already granted summary judgment in Defendants’ favor on Plaintiffs’ second and

fifth causes of action.1 See Memorandum Decision and Order Granting West Valley City

Defendants’ Motion for Partial Summary Judgment, Dkt. No. 118. These claims were

substantial with Plaintiff claiming millions of dollars in damages. In contrast, Plaintiff’s first

cause of action was seeking a mere $1,250 in damages. Accordingly, once Plaintiff’s substantial

claims were out, the parties resolved the remaining claim, and agreed that they would pay their

own fees and costs with respect to this claim. Given the relatively insignificant role that the first

cause of action played, these costs were negligible and were not incurred separately from the



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 The Court had also dismissed three other claims against Defendants early in the case. See
Order Granting the West Valley City Defendants’ Motion to Dismiss, Dkt. No. 36.

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costs for the causes of action where Defendants prevailed. Defendants are the prevailing party

here and are entitled to their costs.

        The fact that the stipulation regarding fees and costs only referred to the first cause of

action should be undisputed. Plaintiff has now appealed the Court’s summary judgment order

and intends to continue to litigate these claims. They were not resolved by the parties’

stipulation, just as the fees and costs related to these claims have not been resolved. Further,

Plaintiff would likely reverse his interpretation of the dismissal if he realized the implications of

his position. Plaintiffs’ argument is that the parties have fully settled all fees and costs in this

case, and if true, Plaintiff would be unable to obtain an award of attorneys’ fees if he is somehow

ultimately successful on his claims.

        Finally, Plaintiff argues that the court should take into account his limited ability to pay

fees. However, Plaintiff has provided no evidence that he is unable to pay Defendants’ costs. In

fact, all he has done is cite to his prior bankruptcy case, which was dismissed on November 29,

2017 for non-compliance with the Court’s order. See Case No. 17-25442, United States

Bankruptcy Court, State of Utah. Even then, Plaintiff’s bankruptcy was a Chapter 13

bankruptcy, rather than a Chapter 7 bankruptcy, which means that Plaintiff represented that he is

an “individual whose income is sufficiently stable and regular to enable such individual to make

payments under a plan.” 11 U.S.C. § 101(30). Plaintiff also appears to have some financial

resources as he continues to pursue his claims on appeal, incurring costs and forcing Defendants

to incur further attorneys’ fees and costs. Accordingly, based on the lack of evidence that

Plaintiff has as limited ability to pay costs, there is no basis for reducing the amount of costs that

Defendants are entitled to receive.



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       Accordingly, costs should be properly taxed against Plaintiff and in favor of Defendants

in the amount of $10,542.11

       DATED this 4th day of May, 2018.

                                                    PRESTON & SCOTT


                                                    By: ___/s/ Stanley J. Preston__________
                                                        Stanley J. Preston
                                                        Bryan M. Scott
                                                        Brandon T. Crowther
                                                    Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of May, 2018, I electronically filed the foregoing

REPLY TO PLAINTIFFS’ OPPOSITION TO BILL OF COSTS with the Clerk of Court

using the CM/ECF system, which sent notification of such filing to the following:

              Tyler B. Ayres
              Daniel M. Baczynski
              AYRES LAW FIRM
              12339 S. 800 E., Suite 101
              Draper, UT 84020

              Lindsay Jarvis
              JARVIS & ASSOCIATES, LLC
              9137 Monroe Plaza Way, Ste A
              Sandy, UT 84070
              Attorneys for Plaintiff



                                                     /s/ Brandon T. Crowther




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